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                                                       APR -5 2010
                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS             G. BRUToN
                         EASTERN DIVISION        ^.IHqMAs
                                                 cLER( u.s. DlsTRtcr c6Unr

 UNITED STATES OF AMERICA
                                         Case No. 17 CR 236
             V.
                                         Violation: Title 18, United States
                                         Code, Sections 2339B(a)(1) and
 JOSEPH D. JONES and                     1oo1(aX2)               JUDGE      W00D
 EDWARD SCHIMENTI
                                         SUPERSEDING INDICTMENT

                                                      MAGTSTRATEJUE6EIIE6.&{AN
                                couNT     oNE
      The SPECIAL DECEMBER 2017 GRAND JURY charges:

      1.    At times material to this indictment:

            a.    On or about October 15,2004, the United States Secretary

of State designated al-Qa'ida in lraq, then known as Jam'at al Tawhid wa'al-

Jihad, as a foreign terrorist organizationunder Section 219 of the Immigration

and Nationality Act and as a Specially Designated Global Terrorist under

section 1(b) of Executive Order 73224.

            b.    On or about May \5,20L4, the Secretary of State amended

the designation of al-Qa'ida in Iraq as a foreign terrorist organization under

Section 219 of the Immigration and Nationality Act and as            a Specially
Designated Global Terrorist entity under section 1(b) of Executive Order

L3224   to add the alias Islamic State of Iraq and the Levant as its primary

name. The Secretary also added the following aliases to the foreign terrorist
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 organization listing: The Islamic State of Iraq and a1-Sham, the Islamic State

 of   Iraq and Syria, ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla

 al Islamiya, and Al-Furquan Establishment for Media Production.

              c.     On or about September 27, 20L5, the Secretary of State

 added the following aliases       to the foreign terrorist    organrzation listing:

Islamic State, ISIL, and ISIS.

        2.    Beginning no later than in or about February 2017, and continuing

until at least on or about April 7,2017, in the Northern District of Illinois, and

elsewhere,

                              JOSEPH D. JONES and
                              EDWARD SCHIMENTI,

defendants herein, knowingly conspired          with each other to provide          and

attempt to provide material support and resources, namely, personnel and

equipment, to a foreign terrorist orgartrzation, namely, the Islamic State of

Iraq and al Sham, knowing that the organization was a designated foreign

terrorist organization, and that the organization had engaged in and was

engaging in terrorist activity and terrorism;

        In violation of Title 18, United States Code, Section 2339B(a)(1).




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                                    COT]NT TWO

The SPECIAL DECEMBER 2017 GRAND JURY further charges:

       1.      The allegations of paragraph one of Count One are realleged and

incorporated as though fully stated here.

       2.      At times material to this indictment:

               a.    The Federal Bureau of Investigation was investigating
possible violations of federal criminal law         in   connection   with   EDWARD

SCHIMENTI and Joseph D. Jones attempting to provide material support and

resources to the Islamic State of Iraq and      Al Sham ("ISIS").

               b.    The following matters, among others, were material to that

investigation:

       o    whether Individual A possessed multiple cellular telephones and for

            what purpose;

       o whether defendant had a               conversation about using cellular

            telephones as detonators;

       .    whether Individual A told defendant EDWARD SCHIMENTI that

            Individual A was traveling to SYRIA to join ISIS; and

       o    Whether defendant EDWARD SCHIMENTI provided anything to

            anyone that could be used   in a violent act.

       3.      On or about   April 12,2017, at Chicago, in the Northern District of
Illinois,

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                           EDWARD SCHIMENTI,

defendant herein, did knowingly and willfully make           a materially   false,

fictitious, and fraudulent statement and representation involving
international terrorism   in a matter within the jurisdiction of the Federal
Bureau of Investigation, an agency within the executive branch of the

Government of the United States, when defendant stated to representatives of

the Federal Bureau of Investigation that:

     a.    defendant was under the impression that Individual A's family in

           Syria could repair and sell multiple cellular telephones and was

           never told the purpose for the cellular telephones was anything

           different;

     b.    defendant never had        a    conversation about using cellular

           telephones as bomb detonators;

     c.    Individual A never told the defendant that he was traveling to join

           ISIS; and

     d.    defendant never gave anything to anyone that could be used in a

           violent act.




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     Whereas,   in truth and in fact, as defendant then well         knew,

statements were false;

     In violation of Title 18, United States Code, Section 1001(a)(2).


                                                  A TRUE BILL:



                                                  FOREPERSON


UNITED STATES ATTORNEY




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